Case 1:05-cr-100l4-.]DT Document 26 Fiied 06/27/05 Page 1 of 7 PageiD 21
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WESTERN DiSTR|CT OF TENNESSEE ` \
EASTERN D|VlS|ON

UN|TED STATES OF AMER|CA

-v- 05-10014-01-T

 

VANSESSA HARVE¥
Diane Smothers FPD
Defense Attorney
109 S. High|and Avenue, Ste B-8
Jackson, TN 38301

 

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 and 2 of the indictment on March 11, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following

 

offense(s):
Date Offense Count
Tiue & section wm concluded Numbeg§i
21 U.S.C. § 846 Conspiracy to Possess with intent to 08/31/2001 1
Distribute a Substance and Mixture
Containing a Detectab|e Amount of
Cocaine
18 U.S.C.§ 1956(h) iV|oney Laundering Conspiracy 08/31/2001 2

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |Viandatory
Victims Restitution Act of 1996

Count 7 dismissed on motion of the United States.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until ali
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 04/12/1982 June 23, 2005
Deft’s U.S. Marsha| No.: 19930-076

This document entered on the docket sheet in comp(i§ance

with nme 55 and/or 32(b) Fnch on M_

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Defendant’s Mai|ing Address:
348 Pipkin Road
Jackson, TN 38305

)._M

JA S D. TODD
CH F UN|TED STATES DiSTR|CT JUDGE

June £ if , 2005

 

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lMPR|SONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 57 Months as to each of Counts 1 and 2,

concurrent

The Court recommends to the Bureau of Prisons: Sentence be served at a minimum
security facility.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons

RETURN

| have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marsha|

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SUPERVISED RELEASE

Upon release from imprisonmentl the defendant shall be on supervised release for
a term of 3 years as to each of Counts 1 and 2, concurrent

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test Within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD CONDiT|ONS OF SUPERV|SION

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

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8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notincations and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such Hne or restitution in accordance with the Schedule of Payments set
forth in the Crimina| lVlonetary Penalties sheet of this judgment

ADD|TIONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall cooperate with the United States Probation Office in the collection
of DNA.

CR|M|NAL MONETARY PENALTIES

The defendant shall paythefollowing total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$200.00

The Special Assessment shall be due immediately

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FlNE
No fine imposed
RESTITUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 1:05-CR-100]4 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

.iackson7 TN 38301

.i ames W. Povveil

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

.iackson7 TN 38301

Honorable .i ames Todd
US DISTRICT COURT

